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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA
Vv. Criminal Action No. 1:19-cer-10335-DJC
TANMAYA KABRA,

Defendant

 

 

DECLARATION OF ALMA TAMBONE

Alma Tambone declares under the penalties of perjury declare as follows:

1. I give this declaration in support of Tanmaya (Tan) Kabra’s release from
detention.
2. I have known Tan Kabra as a friend for 3 years and as his girlfriend for over 2

years. We have lived together since September 2017. My family’s home is in Wenham where I
lived until I went to preparatory boarding school. Tan and I have stayed together in a number of
apartments in Boston after our relationship became serious.

Br I own a Boston based business which is a social, travel application that assists
vacationers and travelers to manage their trip itineraries: www.planmytineraries.com. Tan
assisted me in developing the business.

4, In June 2019, with the expiration of our Boston apartment lease, Tan and I
travelled between his parents’ condominium in Weehawken, New Jersey and my parents’ home
in Wenham, MA. It was a temporary cost-savings move until we could find an affordable
apartment in the Boston area. With the help of Tan’s father, we are now in the process of renting

an apartment in Beverly with a twelve-month lease.
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Bt Tan has many friends, including a number from his college days, and of course
many friends and acquaintances he gained through his business activities, including the startup
companies he assisted, with whom Tan and I would socialize from time to time.

6. I am generally familiar with Tan’s business activities and plans for LaunchByte
and other ventures. LaunchByte held equity interests in numerous startup companies which it
received in exchange for services LaunchByte provided for their development. Tan intended to
create an investment fund initially out of the equity interests owned by LaunchByte and had
hired Goodwin Proctor to prepare the necessary registration and fund documents and Partridge
Snow and Hahn to provide other legal assistance in documenting bridge loans to fund
LaunchByte’s and the fund’s expenses until the fund was up and running.

7. Tan is energetic and a hard worker and would often take business trips in the U.S.
and internationally. In addition, Tan spent substantial time working with Excel High School
where he taught and worked with teachers trying to establish an entrepreneurial program at the
school. Tan’s association with the school, including the donation of computers and equipment
for the entrepreneurial program was well published in the media. See, e.g.,
https://www.prnewswire.com/news-releases/launchbyte-announces-donation-to-new-technology-
wing-at-south-boston-public-school-300654716.html; https://southbostononline.com/launchbyte-
picks-25000-winner-at-excel/; https://forimmediaterelease.net/launchbyte-invests-in-seven-east-
coast-based-startups-251264/

8. On Sunday, August 4, 2019, Tan and I were at Logan Airport intending to start a
two-week vacation visiting London and Italy. We had return tickets for August 16. We were to
meet up with Tan’s grandmother who was flying to London from her home in India. [ did not

know until Tan’s arrest that Tan was intending to propose marriage and brought with him a
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beautiful diamond engagement ring from Shreve Crump and Low. After the arrest, I returned the
ring because I was concerned that funds that were to have been deposited into Tan’s account
from which the check to the jeweler had been drawn were unavailable or frozen due to Tan’s
arrest.

9. To my knowledge Tan has been to India twice in the last year. First, in August
2018, Tan visited his grandfather who was dying. Earlier this year, in late April, I accompanied
Tan to India to attend a family event in remembrance of his grandfather where I met Tan’s
grandmother for the first time.

10. While the charges brought against Tan are serious, I and my family are confident
that once the facts are fully known Tan will prevail with his defense. To prepare his defense with
the assistance of counsel Tan should be allowed to post bail. Tan fully intends to clear his name
and is certainly not a risk to flee. We have a strong relationship that Tan would not rupture by

fleeing and equally important Tan would not bring shame upon his mother, father and brother.

Sworn under the penalties of perjury this \SMiay of September, 2019

Alma Tambone
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CERTIFICATE OF SERVICE
I hereby certify that on September 12, 2019, I electronically filed the foregoing document
with the United States District Court, District of Massachusetts by via the CM/ECF system. |
further certify that on September 12, 2019, I served a copy of the foregoing document on all parties

or their counsel.

/s/ Mark A. Berthiaume
Mark A. Berthiaume
